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11
      Attorneys for Plaintiff and Counterclaim-Defendant
12    SPECTRUM LABORATORIES, LLC
13
                           UNITED STATES DISTRICT COURT
14
15
             CENTRAL DISTRICT OF CALIFORNIA, CENTRAL DIVISION

16    SPECTRUM LABORATORIES, LLC,                     Case No. 5:19-cv-01699-AG-KK
17
                         Plaintiff,                   JOINT RULE 26(f) REPORT
18
19    v.                                                Scheduling Conf
                                                        Courtroom:      10D
20    GREEN PLANET, INC.,
21                                                      Judge: Hon. Andrew J. Guilford
                         Defendant.
22
23    GREEN PLANET, INC.,
24
                     Third-Party Plaintiff,
25
26    SAMSON PHARMACEUTICALS, INC.,
27
                     Third-Party Defendant.
28
      {8606041: }_______________________________________________________________________

                                      JOINT RULE 26(f) REPORT
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 1          Plaintiff Spectrum Laboratories (“Spectrum” or “Plaintiff”), Defendant
 2    Green Planet, Inc. (“Green Planet” or “Defendant”), and Third-Party Defendant
 3    Samson Pharmaceuticals, Inc. (“Samson”) (collectively the “Parties”) by and
 4    through their respective counsel of record, submit the following Joint Rule 26(f)
 5    Report.
 6          On January 9, 2020, Green Planet filed a Request for Approval of
 7    Substitution or Withdrawal of Counsel to substitute in Cislo & Thomas LLP for
 8    Lauson and Associates. Green Planet’s to substitute in new counsel was granted
 9    on January 9, 2020 (see, Dkt. 26).
10          On January 23, 2020, counsel for the Parties conducted the initial meeting of
11    counsel pursuant to Federal Rule of Civil Procedure 26(f). Matthew J. Cavanagh
12    participated on behalf of Spectrum, C. Wook Pak participated on behalf of Green
13    Planet, and John Conkle and Sherron Wiggins participated on behalf of Samson.
14    A.    Statement of the Case
15          1.    Plaintiff’s Statement:
16          Plaintiff alleges that Defendant has infringed, and is continuing to infringe,
17    two of Plaintiff’s patents: U.S. Patent Nos. 7,192,776 (the “’776 patent”) and
18    9,128,105 (the “’105 patent”). Plaintiff alleges that Defendant’s acts of
19    infringement include at least making, using, importing, selling, and/or offering to
20    sell products that are covered by one or more claims of the ’776 and ’105 patents,
21    using methods covered by one or more claims of those patents to manufacture
22    product, and/or inducing or contributing to others’ infringements of those patents.
23    Plaintiff seeks money damages and injunctive relief.
24          2.    Defendant’s Statement:
25          Defendant denies that it infringes any claims of the ‘776 patent or the ‘105
26    patent because the Defendant’s accused product does not meet each and every
27    limitation of the claims of the ‘776 or the ‘105 patents. In addition, Defendant has
28    asserted affirmative defenses for invalidity, among others.           Furthermore,
      {8606041: }_______________________________________________________________________

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     Case 5:19-cv-01699-GW-AGR Document 35 Filed 02/04/20 Page 3 of 13 Page ID #:98




 1    Defendant has filed a Third-Party Complaint against Green Planet’s supplier,
 2    Samson Pharmaceuticals Inc. (“Samson”) for breach of implied warranty of
 3    merchantability. Defendants receive all of its supply of the accused product from
 4    Samson. Defendants are not involved in the formulation of the accused product.
 5    Rather, Defendants simply sell the products supplied by Samson.           Therefore,
 6    Under Cal. Comm. Code § 2312(3), Samson must defend and indemnify Green
 7    Planet.
 8          3.      Samson’s Statement:
 9          Plaintiff filed a complaint against Defendant, which alleges it of making,
10    using, importing, selling, and/or offering to sell a synthetic urine product that
11    infringes Plaintiff’s ’776 or ’105 patents. Defendant received at least some of the
12    alleged product from Third Party Defendant Samson Pharmaceuticals, Inc.
13    (“Samson”) which denies the product infringes. Samson currently lacks
14    information or knowledge regarding whether it must defend and indemnify
15    Defendant.
16    B.    Subject Matter Jurisdiction
17          Because this is a patent infringement case, this Court has federal-question
18    subject matter jurisdiction under 28 U.S.C. §§ 1331, 1338, 2201, and 2202.
19    C.    Legal Issues
20          Based on the allegations set forth in the pleadings, the Parties agree that the
21    key legal issues include:
22                Whether Defendant has infringed the ’776 and ’105 patents.
23                The appropriate amount of damages, if any, to award to Plaintiff
24                  under 35 U.S.C. § 284.
25                Whether Defendant’s alleged infringement was willful.
26                Whether the case is exceptional under 35 U.S.C. § 285 and whether
27                  attorney fees should be awarded under that statute.
28                Whether the Court should award enhanced or treble damages under 35
      {8606041: }_______________________________________________________________________

                                    JOINT RULE 26(f) REPORT
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     Case 5:19-cv-01699-GW-AGR Document 35 Filed 02/04/20 Page 4 of 13 Page ID #:99




 1                   U.S.C. § 284.
 2                Whether the Court should enter an injunction enjoining Defendant
 3                   against future infringement of each Spectrum patent.
 4                Whether Defendant can rebut each patent’s presumption of validity
 5                   with clear and convincing evidence.
 6                Whether the ‘776 and ‘105 patents are enforceable.
 7                Whether Plaintiff complied with its duty of disclosure to the United
 8                   States Patent Office when Plaintiff filed and prosecuted the
 9                   applications for the ‘776 and ‘105 patents.
10                  Whether Plaintiff knew or should have known the ‘776 and ‘105
11                   patents are invalid and unenforceable.
12                Whether Plaintiff owes Defendant any damages and/or attorneys fees.
13          1.       Plaintiff’s Parties, Witnesses and Key Documents:
14          Parties: Plaintiff Spectrum Laboratories
15          Witnesses:
16        James Matthew Stephens;
17        Anil K. Malhi;
18        Jay G. Kassir;
19        Corporate representatives and/or designees for Green Planet, Inc.;
20        Corporate representatives and/or designees for Samson Pharmaceuticals,
21          Inc.;
22        Any additional witnesses that Plaintiff discovers in discovery;
23        Any additional witnesses that Defendant identifies;
24        Expert witnesses are yet to be identified.
25       Key Documents:
26                The ’105 and ’776 patents.
27                Records relating to infringing products made, used, sold, offered for
28                   sale, and/or imported by Defendant that are in Defendant’s
      {8606041: }_______________________________________________________________________

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 1                  possession, custody, or control or in the possession custody, or control
 2                  of third-parties, including (without limitation) production records,
 3                  formula records, chemical testing/analysis records, purchasing/sales
 4                  records, product or chemical specifications, marketing materials,
 5                  engineering records, product samples, research and development
 6                  records, and written communications.
 7                 Records evidencing or concerning Defendant’s knowledge of
 8                  Plaintiff, Plaintiff’s patented products, or Plaintiff’s patents that are in
 9                  Defendant’s possession, custody, or control or in the possession
10                  custody, or control of third-parties.
11           2.     Defendant’s Parties, Witnesses and Key Documents:
12     Defendant anticipates and identifies the following witnesses:
13         James Matthew Stephens, the named inventor on the ‘776 and ‘105 Patents;
14         Anil K. Malhi, CEO of Green Planet, Inc.;
15         The FRCP 30(b)(6) representatives designated by Plaintiff regarding facts
16           and circumstances surrounding the conception and reduction to practice of
17           the purported invention, the filing and prosecution of the applications for the
18           ‘776 and ‘105 patents, manufacture, and any damages;
19         The FRCP 30(b)(6) representatives designated by Samson regarding facts
20           and circumstances surrounding the development, manufacture, distribution,
21           and sales of the accused product.
22         Any additional witnesses that Plaintiff identifies;
23         Any additional witnesses that Defendant discovers in discovery;
24         Any additional witnesses that Samson identifies;
25         Expert witnesses are yet to be identified.
26     Defendant identifies the following key documents and things:
27         The ‘776 and ‘105 patents and their respective file histories;
28         Documents and things related to the conception and reduction to practice of
       {8606041: }_______________________________________________________________________

                                     JOINT RULE 26(f) REPORT
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     Case 5:19-cv-01699-GW-AGR Document 35 Filed 02/04/20 Page 6 of 13 Page ID #:101




 1              the purported invention;
 2           Documents and things that anticipate and/or render the purported inventions
 3              in the ‘776 and 105 patents obvious;
 4           Documents related to manufacture and sales of the accused product by
 5              Samson.
 6           Documents related to Samson’s due diligence investigation regarding the
 7              accused product.
 8              3.    Samson’s Parties, Witnesses and Key Documents:
 9     Samson anticipates and identifies the following witnesses:
10           Jay Kassir
11           Anil Malhi
12           Green Planet Inc.’s FRCP 30(b)(6) corporate representatives and/or
13              designee;
14           Samson’s FRCP 30(b)(6) corporate representatives and/or designee ;
15           Spectrum Labs’ FRCP 30(b)(6) corporate representatives and/or designee ;
16           Any additional witnesses that Plaintiff discovers in discovery;
17           Any additional witnesses that Defendant identifies in discovery;
18           Any additional witness that Samson identifies in discovery;
19             Expert witnesses that are yet to be identified.
20
21     Samson identifies the following key documents and things:
22             Documents related to Defendant’s suppliers, sales, and inventory of the
23              accused product.
24     D.       Damages
25              Plaintiff seeks compensatory damages under 35 U.S.C. § 284, treble
26     damages under § 284, attorneys’ fees under § 285, and litigation-related expenses
27     and costs under at least § 285, Rule 54, and the Court’s inherent authority. Plaintiff
28     is unable to reasonably estimate its damages because it has not yet obtained
       {8606041: }_______________________________________________________________________

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 1     discovery from Defendant regarding the size and scope of infringement, the
 2     number of infringing sales, and the financials related to Defendant’s infringement.
 3             Defendant disputes Plaintiff’s entitlement to any relief, including but not
 4     limited to damages, attorneys’ fees and/or costs, and its measure of claimed
 5
       damages because the ‘776 and ‘105 Patents are invalid and unenforceable. In
 6
       addition, to the extent Plaintiff is seeking damages from Samson either through
 7
       litigation or settlement, seeking additional damages from Defendant would amount
 8
       to improper double recovery of damages by Plaintiff.
 9
10
       E.      Insurance

11
               Plaintiff is not aware of any insurance policy that covers this matter at this

12
       time.

13
               Defendant is not aware of any insurance policy that covers this matter at this

14
       time.

15
       F.      Motions Regarding Parties and Pleadings

16
               Green Planet, Inc. has filed a third-party complaint against Samson

17
       Pharmaceuticals, Inc, asserting breach of implied warranty of merchantability and

18
       seeking Samson defend and indemnify Green Planet for all damages sustained as a

19
       result of this lawsuit.

20
               Samson filed its answer to Green Planet’s third-party complaint on February

21
       3, 2020.

22
               Otherwise, the parties are not aware of any other issues relating to the parties

23
       and pleadings.

24
       G.      Manual for Complex Litigation

25
               The Parties do not believe this action would benefit from use of procedures

26
       set forth in the MCL.

27
       H.      Status of Discovery

28
               The Parties have agreed to exchange initial disclosures by February 6, 2020.
       {8606041: }_______________________________________________________________________

                                      JOINT RULE 26(f) REPORT
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     Case 5:19-cv-01699-GW-AGR Document 35 Filed 02/04/20 Page 8 of 13 Page ID #:103




 1     No other discovery has been conducted at this time.
 2     I.     Discovery Plan
 3            The Parties intend to conduct standard discovery, including depositions,
 4     written discovery requests, and expert reports and testimony, on the above stated
 5     litigation issues.
 6            1.     Plaintiff’s Statement Regarding Discovery
 7            Plaintiff is preparing to serve interrogatories, requests for admission, and
 8     document requests. Plaintiff anticipates deposing Defendant regarding the facts
 9     and issues in this action. Plaintiff additionally intends to depose key witnesses
10     with personal knowledge of the transactions and occurrences at issue in this action,
11     as they are identified through document productions and written discovery. Finally,
12     Plaintiff intends to provide expert opinion testimony on liability and damages.
13     Plaintiff reserves the right to depose other witnesses whose identities are currently
14     unknown to Plaintiff.
15            2.     Defendant’s Statement Regarding Discovery
16            Defendant intends to seek discovery on the following non-exclusive list of
17     subjects:   Plaintiff’s pre-filing investigation and infringement theories, claim
18     construction, invalidity and unenforceability of the patents-in-suit, inventorship,
19     conception and reduction to practice of the patents-in-suit, prior art, damages,
20     patent marking, and allegations of willful infringement, Samson’s manufacturing,
21     sales, and dealings with its customers regarding the accused product.
22            3.     Samson’s Statement Regarding Discovery
23            Samson intends to serve interrogatories, requests for admission and
24     document requests from Defendant regarding its suppliers, purchases, and
25     inventory of the accused product. Samson reserves the right to depose other
26     witnesses or serve discovery requests on other witnesses whose identities are
27     currently unknown to Samson.
28
       {8606041: }_______________________________________________________________________

                                    JOINT RULE 26(f) REPORT
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 1
 2           4.       Electronically Stored Data
 3           The Parties do not anticipate any issues relating to the discovery or
 4     disclosure of electronically stored information.
 5           The parties agree that the Standing E-Discovery Order of Judge Andrew J.
 6     Guilford shall govern this case with the following exception: in addition to TIFF
 7     files, electronically stored information can also be produced in PDF format.
 8           5.       Privilege Issues/Protected Information
 9           The Parties agree that a party will serve any privilege log pertaining to a
10     production request within one month after the party produces documents. The
11
       Parties additionally agree that a party need not identify information or documents
12
       withheld from production on grounds of privilege to the extent such information or
13
       documents were generated after the commencement of this action, though the
14
       parties reserve the right to request such information at a later time.
15
16           The Parties agree that the Standing Protective Order of Judge Andrew J.
17     Guilford shall govern this case.
18           6.       Changes To Discovery Limits
19           The Parties agree that no changes are needed in the limitations on discovery
20     imposed under the rules or by local rule, or that this Court should impose other
21     limitations.
22     J.    Discovery Cut-Off
23           See chart in Section S below (likely around February 2021).
24     K.    Expert Discovery
25           The Parties anticipate providing expert opinion testimony.
26           The Parties do not request changes regarding Rule 26(a)(2) expert
27     disclosures, limitation to discovery, or timetable at this time. See chart in Section S
28     below for proposed expert disclosure deadlines.
       {8606041: }_______________________________________________________________________

                                     JOINT RULE 26(f) REPORT
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 1   L.    Dispositive Motions
 2         The Parties reserve the right to file dispositive or partially dispositive
 3   motions as appropriately supported by evidence revealed through discovery. See
 4   chart in Section S below for proposed deadline (likely around February 2021).
 5   M.    Settlement
 6         Pursuant to the Court-Directed ADR program, Plaintiff believes the case is
 7   best suited for private mediation, ADR Procedure No. 3 from Local Rule 16-15.4
 8   (ADR PROCEDURE NO. 3- The parties shall participate in a private dispute
 9   resolution proceeding).
10         Defendant believes the case is best suited for the district judge or magistrate
11   judge assigned to the case, ADR Procedure No. 1 from Local Rule 16-15.4.
12         Samson believes the case is best suited for private mediation, ADR
13   Procedure No. 3 from Local Rule 16-15.4 (ADR PROCEDURE NO. 3).
14   N.    Scheduling Order and Pretrial Conference
15         The Parties do not anticipate requesting any additional orders under Rules
16   16(b) or 16(c), other than the scheduling order and pre-trial conference order that
17   the court typically issues in the typical course of litigation or sees fit to issue in this
18   case. The Parties reserve the right to request a modification of the scheduling order
19   on an appropriate showing of good cause.
20   O.    Trial Length Estimate
21         The Parties agree that, unless the case is resolved through settlement or on
22   motion, trial will be by jury for an estimated length of five court days.
23   P.    Trial Counsel
24         Plaintiff: David Cupar
25         Defendant: Daniel M. Cislo
26         Samson: John Conkle
27
28
     {8606041: }_______________________________________________________________________

                                    JOINT RULE 26(f) REPORT
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 1   Q.    Independent Expert or Master
 2         The Parties do not anticipate the need for a master or an independent
 3   scientific expert.
 4   R.    Proposed Dates
 5         See Section S below for most of the proposed litigation deadlines. In
 6   addition, the parties propose the following litigation deadlines:
 7         a.     Last day to amend pleadings or add parties: March 13, 2020
 8         b.     Mediation/ADR Deadline: May 29, 2020
 9         c.     Last day to conduct ADR proceeding: January 31, 2021
10         d.     Final Pretrial Conference date of March 1, 2021
11         e.     Trial date of May 3, 2021
12   S.    Local Patent Rules
13         The Parties agree to comply with Judge Guilford’s Standing Local Patent
14   Rules. The Parties request that the Court postpone the start of the disclosures
15   required under those rules until March 13, 2020. The reasons for this request are:
16   (a) the Parties are discussing settlement and would like to direct their effort and
17   resources towards settlement talks before the patent disclosure obligations force
18   the Parties to begin litigation at full speed, and (b) third-party Samson
19   Pharmaceuticals responded to the third-party complaint on February 3, 2020, such
20   that a short postponement of the patent disclosure obligations should allow Samson
21   to catch up in the case once it appears.
22
23         The Parties proposed deadlines for each of the Court’s Standard Patent Rule
24   obligations are set forth below:
25
26
27
28
     {8606041: }_______________________________________________________________________

                                   JOINT RULE 26(f) REPORT
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 1
 2                        Event                              Parties Requested Dates
     Infringement Contentions (SPR 2.1, 2.2)               3/13/2020
 3   Early Meeting of the Parties (SPR 2.3) to include     3/27/2020
 4   Samson
     Invalidity Contentions (SPR 2.5, 2.6)                 4/24/2020
 5
     Exchange of Proposed Terms for Construction           5/8/2020
 6   (SPR 3.1)
 7   Exchange of Claim Constructions and Extrinsic         5/22/2020
     Evidence (SPR 3.2)
 8
     Completion of Claim Construction Discovery            6/19/2020
 9   (SPR 3.3)
10
     Joint Claim Construction and Prehearing               6/26/2020
     Statement (SPR 3.4)
11   Opening Claim Construction Briefs (SPR 3.5)           7/3/2020
12   Response Claim Construction Briefs (SPR 3.5)          7/17/2020
     Claim Construction Hearing (SPR 3.6)                  ~ August 2020
13
     Final Infringement Contentions (SPR 4.1)              28 days after Claim
14                                                         Construction Ruling
15   Final Invalidity Contentions (SPR 4.2)                28 days after service of Final
                                                           Infringement Contentions
16   Rebuttal Expert Reports (SPR 4.3)                     28 days after SPR 4.1 and
17                                                         4.2 reports
     Close of Discovery (SPR 4.3)                          28 days after service of
18
                                                           latest set of rebuttal reports
19   Advice of Counsel Defense (SPR 4.4)                   28 days after Claim
20                                                         Construction Ruling
     Dispositive Motion Deadline (SPR 4.5)                 28 days after close of
21                                                         discovery
22   T.    Other Issues
23         The Parties are not aware of any special issues at this time.
24         The filer of this document, Plaintiff’s counsel Matthew J. Cavanagh attests
25   that all other signatories listed below, and on whose behalf this filing is submitted,
26   concur in the filing’s content and have authorized the filing.
27
28
     {8606041: }_______________________________________________________________________

                                  JOINT RULE 26(f) REPORT
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 Case 5:19-cv-01699-GW-AGR Document 35 Filed 02/04/20 Page 13 of 13 Page ID #:108




                                   Respectfully submitted,
 1
                                   MCDONALD HOPKINS LLC
 2
 3   Dated: February 4, 2020       By: s/ Matthew J. Cavanagh

 4                                 Attorneys for Plaintiff
                                   Spectrum Laboratories, LLC
 5
 6                                 CISLO & THOMAS LLP
 7   Dated: February 4, 2020       By:      /s/ C. Wook Pak
 8
                                   Attorneys for Defendant and Third-Party
 9
                                   Complainant Green Planet, Inc.
10
11                                 CONKLE, KREMER & ENGEL
12
     Dated: February 4, 2020       By:     /s/ Sherron Wiggins
13
14                                 Attorneys for Third-Party Defendant Samson
15                                 Pharmaceuticals, Inc.
16
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28
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                                 JOINT RULE 26(f) REPORT
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